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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division


Yoshiki Okada


       Plaintiff,

V.                                                   Case No. I:I8-cv-01338-LO-TCB

John Doe, et ai.



       Defendants




                                            ORDER


       This matter is before the Court on the Motion to Dismiss Plaintiff Okada's Complaint for

failure to state a claim as to the domain OLP.COM by Defendant OLP.COM,Inc.(Dkt. 42),

Intervenor Mark Thompson's oral motion for defaultjudgment, and all other pending motions,

which are now resolved and decided with this Order.

       Plaintiff Yoshiki Okada's Complaint was filed on October 26,2018.(Dkt. 1). With no

other party having appeared in the case after service by email and publication, the clerk entered

default on November 27, 2018.(Dkt. 9). Plaintiff Okada moved for defaultjudgment on

November 29,2018.(Dkt. 10).

       On April 12,2019 counsel for OLP.COM,Inc. appeared, and entry of default was set

aside as to the domain OLP.COM.(Dkt. 23, 32, and 33). On May 23, 2019 counsel for

Defendant OLP.COM filed a motion to dismiss Plaintiff Okada's Complaint for failure to state a

claim as to the domain OLP.COM.(Dkt. 42).
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